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           Case 3:13-cr-03479-BTM
     ~AO 2458 (CASD) (Rev. 4/14)
                                                      Document 350
                                    Judgment in a Criminal Case
                                                                                 Filed 09/16/15                                  ['. hi.'.·.·.'1·, of[.i·",5
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                                                                                                                                                                                 '.j };;
                                                                                                                                                                                 ::i.J:;
                Sheet 1



                                               UNITED STATES DISTRICT COU                                                 (;um~c H.~·!" 1.!!tH'HIG'l (~(M}AA"f
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                                                   SOUTHERN DISTRICT OF CALIFORNIA                                     ,..         ",. • .. _'"_,. __
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                                                                                                                                                                                           .....,... v., .. _..•

                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                         v.                                         (For Offenses Committed On or After November I, 1987)

                           ERNEST SOLOIAN [2]                                       Case Number: 13CR3479-BTM
                                                                                    DONALDNUNN
                                                                                    Defendant's Attorney
     REGISTRATION NO. 66782112
     o
     THE DEFENDANT:
     /81 pleaded guilty to count(s) ..:I..:O:,:F..:.:,TH:.:::E.,::IN:.:::D.:,IC:,T;.,:M:.:::EN..:.:,T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o was found guilty on count(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                                       Count
     Title & Section                          Nature of Offense                                                                                                       Number(s)
18 USC 371                            CONSPIRACY TO COMMIT MAIL AND WIRE FRAUD




        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on counl(s) _______________________________

 /81 Count(s) REMAINING COUNTS OF THE INDICTMENT                                     is   0    are/81 dismissed on the motion of the United States.
 /81 Assessment: $100 to be paid at the rale of $25 per quarter through the Inmate Financial Responsibility Program.



 /81 Fine waived                                    o
                                                    Forfeiture pursuant to order filed                                    , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               AUGUST 24, 2015
                                                                              Date of Imposition of Sentence


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                                                                              UNITED STATES DISTRICT JUIJVb


                                                                                                                                                                          13CR3479-BTM
     Case 3:13-cr-03479-BTM                    Document 350        Filed 09/16/15          PageID.1572           Page 2 of 5
AO 2458 (CASD) (Rev. 4114) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                               Judgment - Page    2     of        5
 DEFENDANT: ERNEST SOLOIAN [2]
 CASE NUMBER: 13CR3479-BTM
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         THIRTY-SIX (36) MONTHS.



    o Sentence imposed pursuant to Title 8 USC Section J326(b).                              ~
                                                                                             BARRY T
                                                                                                     "7ii:;/~~
                                                                                                     MOSKOWITZ
    181 The court makes the following recommendations to the Bureau of Prisons:                  UNITED STATES DISTRICT JUDGE
         That the defendant serve his sentence at an institution in Southern California to facilitate family visits. That the defendant
         participate in the 500 hour RDAP program.



    o   The defendant is remanded to the custody of the United States Marshal.

    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.       on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    181 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         181 before 12:00 pm on October 23, 2015 or to this Court by 2:00 pm on that same date.
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                             RETURN
I have executed this judgment as follows:

        Defendant delivered on                                                   to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL


                                                                   By _ _ _ _ _~~~==~~~~~~----
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                      13CR3479-BTM
       Case 3:13-cr-03479-BTM                     Document 350              Filed 09/16/15            PageID.1573             Page 3 of 5
AO 2458 (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page        3     of        5
DEFENDANT: ERNEST SOLOIAN [2]                                                                         III
CASE NUMBER: 13CR3479-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shalt report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau ofPnsons.
The defendant shalt not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not it1egally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision. unless otherwise ordered by court.                                          --

D The above drug testing condition is suspended. based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

~      The defendant shaH not possess a firearm. ammunition, destructive device. or any other dangerous weapon.

~      The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000 ..pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tfie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
D      by the probation officer. the Bureau of Prisons, or any state sex offender registration agency in which he or she resides. works. is a student. or
       was convicted ofa qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        ST ANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shalt report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation. unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shalt notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shalt not purchase, possess. use, distribute. or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed. or administered;
  9)    the defendant shalt not associate with any persons engaged in criminal activity and shalt not associate with any person convicted of
        a felony. unless granted permission to do so by the probation officer;
 10)    the defendant shalt permit a probation officer to visit him or her at any time at home or elsewhere and shalt permit confiscation of any
        contraband observed in plain view of the probation officer;
 II)    the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shalt not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shalt notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                        13CR3479-BTM
           Case 3:13-cr-03479-BTM                     Document 350       Filed 09/16/15          PageID.1574           Page 4 of 5
        AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                        Judgment-Page - L of       _~5"-   __
        DEFENDANT: ERNEST SOLOIAN [2]                                                              a
        CASE NUMBER: 13CR3479-BTM




                                             SPECIAL CONDITIONS OF SUPERVISION
15(1 Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
ICJ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

18l Participate in a program of drug abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8 counseling
    sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
18l Not reenter the United States illegally.
18l Not enter the Republic of Mexico without written permission of the Court or probation officer.
18l Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
18l Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
18l Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall .
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


18l Be prohibited from opening checking and credit accounts or incurring new credit charges or opening additional lines of credit without
    approval of the probation officer.

18l Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
    placement.
18l Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within            days.
D Complete            hours of community service in a program approved by the probation officer within

18l Make restitution to the United States Treasury in the amount of$l ,503,417.00, to be paid as set forth on page 5 of this Judgment.
1811f deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter or attempt to
   reenter the United States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions
   of supervision are suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.


18l The defendant shall notify the Collections Unit, United States Attorney's Office within 10 days, of obtaining any interest in property,
    directly or indirectly, valued at $1,000 or more including any interest obtained under any other name, or entity, including a trust, partnership,
    or corporation until restitution is paid in full. The defendant shall notify the Collections Unit, United States Attorney's Office at least to
    days, before transferring any interest in property valued at $1,000 or more owned directly or indirectly by the Defendant, including any
    interest held or owned under any other name or entity, including a trust, partnership, and/or corporations.




                                                                                                                                   13CR3479-BTM
      Case 3:13-cr-03479-BTM Document 350                 Filed 09/16/15        PageID.1575       Page 5 of 5
AO 245S (CASD Rev. 08113) Judgment in a Criminal Case

   DEFENDANT:             ERNEST SOLOIAN [2]                                                   Judgment - Page 5 of 5
   CASE NUMBER:           13CR3479-BTM

                                              RESTITUTION


  The defendant shall pay restitution in the amount of    $1,503,417.00         unto the United States of America.
                                                          (Total Restitution)
  For the benefit of the United States Treasury through the Clerk of Court




  This sum shall be due immediately. The total restitution shall be paid as follows: Pay restitution in the
  amount of $1 ,321,778.00 jointly and severally liable with codefendants Ernest SOLOIAN and Harout
  GEVORGYAN; $57,011, jointly and severally liable with codefendants SOLOIAN, GEVORGYAN and
  Yvonne MIHAILESCU; $37,861, jointly and severally liable with codefendants SOLOIAN,
  GEVORGYAN and Yermek DOSSYMBEKOV; and $86,767, jointly and severally liable with
  codefendants SOLOIAN, GEVORGYAN an9 Vyacheslav TSOY, to Internal Revenue Service (IRS)
  through the Clerk, U. S. District Court. Payment of restitution shall be forthwith. During any period of
  incarceration the defendant shall pay restitution through the Inmate Financial Responsibility Program at
  the rate of 50% of the defendant's income, or $25.00 per quarter, whichever is greater. The defendant
  shall pay the restitution during his supervised release at the rate of $300 per month. These payment
  schedules do not foreclose the United States from exercising all legal actions, remedies, and process
  available to it to collect the restitution judgment. The terms of the Final Restitution Order filed
  09/18/2014, document [248], are incorporated herein by reference.




 The Court has determined that the defendant      does not    have the ability to pay interest. It is ordered that:
      The interest requirement is waived




                                                                                                       I3CR3479-BTM
